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Unlted States Dlstrlct Court “/»r:<%% 3
WESTERN DISTRICT oF TENNESSEE "tt?;j~@§?g?/

Eastern Division

JUDGMENT IN A CIVIL CASE

TRACY LYNN AUTRY by and
through her next friend and mother,
CAROL HOOD,

v.

PHIL HOOKER, eta]., CASE NU|V|BERZ 1205-1213-T/An

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered

|T |S ORDERED AND ADJUDGED that in compliance With the order entered in

the above-styled matter on 8/19/2005, P|aintift‘s Motion to remand is GRANTED and
this action is hereby REMANDED to the Circuit Court of Gibson County, Tennessee.

APPROVED:

 

JA ES D. TODD
ITED STATES DISTRICT JUDGE

THOMAS M. GOULD

 

 

CLERK _
\B}Q<.QIQS BY: " C%Q\\
DATE ' ’ DEPUTY CLERK

'l'his document entered on the docket sheet in compliance

with Ruie ss and/or 79(3) FRcP on § ' §§ 3 1433 .

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 10 in
case 1:05-CV-01213 Was distributed by faX, mail, or direct printing on
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ESSEE

 

Jennifer Craig
WALDROP & HALL
106 S. Liberty Street
P.O. Box 726

Jackson7 TN 38302--072

Sam J. Watridge

LAW OFFICE OF SAM J. WATR]DGE
1215 Main Street

Humboldt7 TN 38343

Charles M. Purcell
WALDROP & HALL
106 S. Liberty Street
P.O. Box 726

Jackson7 TN 38302--072

Janice J ones

CIRCUIT COURT, 28TH .TUDICIAL DISTRICT
Gibson County Courthouse

Trenton, TN 38382

Honorable J ames Todd
US DISTRICT COURT

